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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 IN RE BANC OF CALIFORNIA                          Court File No. 0:18-mc-00076-WMW-KMM
 SECURITIES LITIGATION
                                                   STEVEN A. SUGARMAN’S
                                                   MEMORANDUM IN SUPPORT OF HIS
                                                   MOTION TO COMPEL PRODUCTION




 I.     INTRODUCTION

        Minnesota residents Castalian Partners and James Gibson1 (“Respondents”) have

 refused to produce documents in response to July 17, 2018 subpoenas (the “Subpoenas”)

 from Defendant Steven Sugarman (“Movant” or “Mr. Sugarman”) on an issue that the

 United States District Court for the Central District of California has identified as a

 relevant issue for summary judgment in the underlying case. Mr. Sugarman respectfully

 requests that this Court issue an order requiring production.

        Mr. Sugarman is currently a defendant in In re Banc of California Securities

 Litigation, No. SACV 17-00118 AG (DFMx) (C.D. Cal.) (the “Underlying Action”), a

 securities fraud class action alleging violations of §10(b) and §20(a) of the Securities

 Exchange Act of 1934. The complaint was filed after a drop in the price of Banc of

 California (“Banc”) stock following an October 18, 2016 blog post by an anonymous



 1
  According to SEC records, James Gibson is the Manager of the General Partner of
 Castalian Partners Value Fund, LP. Ex. 1.

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 author pen-named “Aurelius” that argued Banc stock was “uninvestable” (the “Blog”).

 Trading data suggests the stock price drop was not caused by anything done by Mr.

 Sugarman, but instead by traders who manipulated the stock price based on information

 they knew to be false. Mr. Sugarman has strong evidence to suggest that Respondents

 were involved in efforts to drive the stock price downward based on false information,

 and make money when the stock rebounded after the public realized the Blog was false.

 Mr. Sugarman now seeks information regarding their trading, communications, and

 knowledge. Mr. Sugarman is entitled to information from Respondents that may support

 his defenses regarding materiality, class adjudication, and loss causation.

        Through the course of discovery in the underlying matter, Mr. Sugarman has

 obtained FINRA trading data indicating that in the four days between October 14, 2016

 and October 17, 2016—just shortly before the release of the Blog—a group of

 approximately 10 entities, including Respondents, amassed thousands of put options and

 entered into more than 175,000 short sale contracts on Banc stock. Collectively, the short

 sellers and option holders in Banc stock stood to gain more than $5 million if Banc’s

 stock price decreased. These traders bought the position just days before the Blog was

 released, suggesting they knew the Blog would be released and perhaps were involved

 with it. The Blog disclosed that all of the information underlying the opinion came from

 information that was already publicly available.

        Two internal investigations by reputable law firms have found that the facts do not

 support the main allegations in the Blog. Nonetheless, on October 18, 2016 the market

 reacted to the allegations in the Blog—sending Banc stock down $4.61 (from $15.87 at
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 the close of October 17, 2016 to $11.26 at the close of October 18, 2016), or 29 percent

 per share. After the Blog was published, Respondents and other members of the

 seemingly coordinated group of short sellers and put option traders (the “Short-and-

 Distort Traders”) immediately covered their short sales and exercised or sold the vast

 majority of their put options, thus capitalizing immediately on the stock price drop.

 Then, in a little over two hours after the Blog was published, certain of the Short-and-

 Distort Traders flipped their investment position completely by REDACTED

         equity shares in Banc stock (twice as many as necessary to cover their short

 position). This trading pattern suggests that the traders knew the Blog was false, and

 anticipated a temporary decline after the Blog’s release followed by a subsequent price

 rebound when the market realized the Blog was false.

        The trading pattern exhibited here—opening a large short position shortly before

 the issuance of a negative report containing an unfounded and unsupported thesis so as to

 benefit from any stock price decrease resulting from the negative report, and then

 immediately investing in a long equity position to benefit from a subsequent stock price

 rebound—is discussed in academic literature and strongly suggests two key points for the

 underlying litigation: (1) that a coordinated group of traders knew about the Blog prior to

 its release and (2) that the traders expected the Blog to have only a temporary effect on

 Banc’s stock price because the Blog constituted a pseudo-signal as opposed to the release

 of new information of substance. Mr. Sugarman is entitled to discover evidence that

 demonstrates and supports these points.

        Respondents objected to the Subpoenas on four grounds, but in subsequent meet
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 and confer discussions, have relied on only one argument against production—that the

 requested documents are not relevant to the Underlying Action. The Respondents

 argument is belied by the court’s holdings on these issues in the Underlying Action. In

 response to a series of motions, the court has indicated that whether market participants

 were aware of the information in the Blog before its publication on October 18, 2016 is a

 key issue for summary judgment. Information from Respondents on what they knew,

 when they knew it, and who else was aware of the information is therefore highly likely

 to lead to admissible evidence bearing on the issues in the case. And despite explanations

 regarding the relevance of these documents in meet-and-confer calls with two separate

 counsel for Castalian Partners and James Gibson, Respondents have refused to produce a

 single page. Mr. Sugarman therefore respectfully asks this Court to issue an order

 compelling Castalian Partners and James Gibson to produce documents in response to the

 Subpoenas.

 II.    THE UNDERLYING ACTION

        Mr. Sugarman was the CEO of Banc from 2012 to 2017. The plaintiffs in the

 Underlying Action allege that Mr. Sugarman’s biography in Banc’s April 2016 proxy

 statement is misleading because it does not disclose alleged “ties” with a convicted

 fraudster named Jason Galanis. See Dkt. No. 41.2 They further allege that the truth

 regarding these ties was revealed to the market by the Blog on October 18, 2016, and that

 this revelation of truth caused Banc’s stock price to decline—eliminating the inflation in


 2
  All citations to the Docket refer to the Docket in In re Banc of Cal. Sec. Litig., No.
 SACV 17-00118 AG (DFMx) (C.D. Cal. Jan. 23, 2017), unless otherwise indicated.
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 price attributable to the allegedly misleading statements in Mr. Sugarman’s April 2016

 biography.3

        In motions to dismiss filed June 30, 2017 (Dkt. Nos. 42, 43), a motion to certify

 matters for interlocutory appeal filed October 5, 2017 (Dkt. No. 74), and an opposition to

 class certification filed February 12, 2018 (Dkt. Nos. 141, 142), defendants Mr.

 Sugarman and Banc argued that the October 18, 2016 Blog could not serve as a

 revelation of truth that caused material loss to Banc shareholders because all of the

 information in the Blog was already public and known to the market. The court found

 that this argument was not an appropriate grounds to defeat the plaintiffs’ claims at the

 pleading and class certification stages, holding that the plaintiffs adequately pleaded loss

 causation with respect to the October 18, 2016 Blog, and that plaintiffs were entitled to a

 fraud-on-the-market presumption of reliance because the market for Banc stock is

 efficient. Dkt. Nos. 68, 236.

        In rejecting the defendants’ arguments, the court drew a distinction between

 information that was readily available to the market and information that was only

 discernible by poring over extensive legal and agency documents. Dkt. No. 68 at 8, 15.

 The court also found that the plaintiffs had sufficiently alleged that the information in the

 Blog was material new information by referencing a stock price drop. Id. The

 defendants would therefore need evidence to prove that market participants actually knew

 about the information prior to the Blog and that other influences impacted the stock price


 3
  The Court found that plaintiffs failed to adequately allege a violation of securities laws
 with respect to the other challenged statements in the complaint. Dkt. No. 68.
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 movement. Id. at 15. Similarly, in the order granting class certification, the court held

 that the issue of market participant knowledge prior to the Blog “go[es] to issues of

 materiality and loss causation that are inappropriate to decide on a [class] certification

 motion.” Dkt. No. 236 at 11-12. The Court’s rulings have thereby established that

 market knowledge regarding the information and allegations in the Blog are materiality

 and loss causation issues that should be presented at the summary judgment stage.

 III.   FACTUAL BACKGROUND

        A.     Put Option Trading and Short Sales in the Days Prior to the Blog’s
               Publication Suggest that a Seemingly Coordinated Group of Entities,
               Including Respondents, Knew About the Blog Before October 18, 2016.

        There was a significant and unusual build-up in put options and short sales4 in

 Banc stock in October 2016. Data from Bloomberg shows that in early October, put

 options traders were entering one or two hundred put options in Banc stock per day. See

 Declaration of Torben Voetmann (“Voetmann Dec.”) at 4-5. This pattern drastically

 changed in the week immediately prior to the publication of the Blog on October 18,

 2016. During that week, the volume of put options trades increased to nearly 2,000 per

 day. Id. at 5. On October 17, 2016, the day before the Blog, the put-call trading volume


 4
   Put options and short sales are different mechanisms by which individuals can trade
 upon the belief that a stock price is likely to drop. A put option is a trade conducted on
 the options market that gives the owner the right, but not the obligation, to sell a specified
 amount of an underlying security (e.g., shares in a stock) at a specified price within a
 specified time period. In a short sale, an investor borrows shares of stock and
 immediately sells the borrowed shares at the prevailing market price, hoping that she or
 he can later purchase the underlying shares at a lower price and return them to the lender,
 thereby profiting the difference. Short sales are conducted on the equity market. See
 Brealey, R. A., Myers, S. C., & Allen, F. (2011), Principles of corporate finance. 10th
 edition. New York, NY: McGraw-Hill/Irwin, p. 327 and p. 505.
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 ratio in Banc stock spiked, with trading volumes in put options reaching 300 times the

 volume of call options. Id.

       Given this abnormal trading activity before the Blog was released, Mr. Sugarman

 has developed evidence regarding the traders involved in this build-up of put options and

 short sales. FINRA data for the end of the trading day on October 17, 2016 REDACTED




REDACTED
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        Castalian Partners and Gibson also had impeccable timing. Castalian Partners

                                   REDACTED



                                                  . Similarly, James Gibson REDACTED




 Castalian Partners and Gibson                        REDACTED




        The unusual trading pattern in the options market was mirrored in the equity

 market as the volume of short sales in Banc stock likewise spiked in the days prior to the

 Blog’s publication.                              REDACTED




                                                              Through discovery, Mr.

 Sugarman has identified this trader as the well-known short-selling entity, Muddy

 Waters. Muddy Waters                               REDACTED




             Muddy Waters                           REDACTED


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                              REDACTED




REDACTED



       B.    When Banc’s Stock Price Dropped in the Wake of the Blog, Short-and-
             Distort Traders Immediately Exited Their Positions and Purchased
             Shares of Banc’s Stock in Order to Benefit from the Impending Stock
             Price Rebound.

       On October 18, 2016, an anonymous blogger with the pen name “Aurelius”

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  published the Blog entitled, “BANC: Extensive Ties to Notorious Fraudster Jason

  Galanis Make Shares Un-Investible” and claiming that Banc was controlled by Jason

  Galanis, an individual indicted for securities fraud. Ex. 2. Aurelius also claimed in the

  article that all allegations were based on public information, and admitted to holding a

  short position in Banc stock. Id. In the hours after the Blog was published, Banc’s stock

  price dropped by almost 30 percent. This price decline is “[t]he most significant drop in

  Banc share value that [the plaintiffs in the Underlying Action] complain of.” Dkt. No.

  68, at 2.

         Also on October 18, 2016, immediately after the Blog was published and

  Banc’s stock price began to drop, both Castalian Partners and Gibson REDACTED



  This well-timed behavior permitted them to maximize profit from the stock price

  fall, before Banc’s stock price rebounded after the close of the market on October

  18, 2016 and over the ensuing days.              REDACTED




         Similarly, on October 18, 2016, in the 80 minutes following the publication of the

  Blog, Muddy Waters                            REDACTED



                                                                                    —a bet
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  that Banc’s stock price would quickly rebound from the October 18, 2016 price drop.




REDACTED



         Late on October 18 and early on October 19, 2016, Banc issued a press release

  denying the article’s allegations and reported its 2016 Q3 financial results, respectively.


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  Exs. 3, 4. By the time the market closed on October 19, 2018, Banc’s stock had

  recovered 45 percent of the previous day’s decline. Within a month and a half, the stock

  price fully recovered. On January 23, 2017, Banc announced that an internal

  investigation conducted by WilmerHale LLP had found no violation of law on the part of

  Banc. Ex. 5.

  IV.   PROCEDURAL BACKGROUND

        A.       Respondents Declined to Produce Documents in Response to Mr.
                 Sugarman’s Subpoenas.

        On July 17, 2018, Mr. Sugarman issued the Subpoenas to Castalian Partners and

  James Gibson seeking documents detailing Respondents’ trading in Banc stock and the

  timing, scope, and communications regarding Respondents’ knowledge of the

  information in the Blog. Exs. 7, 8.5 Both Subpoenas included ten common requests, with

  one additional request in the subpoena to Castalian Partners. The Subpoenas request the

  following documents for the period of October 1, 2015 through April 30, 2017:

              All COMMUNICATIONS with BANC, or third parties representing
               BANC in connection with the COMMUNICATION;

              All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC
               SECURITIES;

              All DOCUMENTS that refer, reflect or relate to the basis for YOUR



  5
    The subpoenas are identical, with the exception of Request 11 in the subpoena to
  Castalian Partners, which is not included in the subpoena to James Gibson. Mr.
  Sugarman has also issued subpoenas to other parties whose trading patterns suggest that
  they were aware of the allegedly “new” information in advance of October 18, 2016.
  Some parties have willingly complied, and Mr. Sugarman continues to issue additional
  subpoenas as more information comes to light regarding the coordinated bear raid on
  Banc stock.
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                decision to engage in any TRANSACTIONS in BANC SECURITIES

             All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate
              to the BLOG or AURELIUS;

             All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS
              between YOU and any third party regarding BANC, SUGARMAN,
              GALANIS, ALLEGED GALANIS ENTITY, the BLOG, or AURELIUS;

             All COMMUNICATIONS with and DOCUMENTS that refer, reflect or
              relate to GALANIS or any ALLEGED GALANIS ENTITY;

             All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS
              between YOU and COR CLEARING or COR SECURITIES HOLDINGS
              regarding BANC or SUGARMAN; and

             All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS
              between YOU and certain identified third parties relating to BANC or
              SUGARMAN;

             All CORRESPONDENCE with certain additional identified third parties.

  Exs. 7, 8. The subpoena to Castalian Partners also requests documents regarding the

  investors in Castalian Partners. Ex. 7.

         Since FINRA’s trading data includes only those trades reported by FINRA

  members to FINRA’s NYSE and NASDAQ Trade Reporting Facility—approximately

  40%-50% of the total trades on Banc stock—Mr. Sugarman sought records to understand

  whether the FINRA trades represent the full picture of Respondents’ interest in Banc’s

  stock price decline. The remainder of the requests seek information regarding what

  Respondents knew when they entered into their well-timed trades, how they obtained the

  information, what other parties were aware of the information, and why Respondents

  made the trades at issue. Mr. Sugarman believes that documents responsive to these

  requests will lead to evidence regarding the scope of market trading surrounding the

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  October 18 Blog, the connections between the trading patterns and the Blog, and the

  reasons for the resulting stock price movement—all of which may support the

  defendants’ arguments regarding class certification, materiality, and loss causation in the

  Underlying Action.

         Counsel for Respondents responded to Mr. Sugarman’s Subpoenas with objections

  on August 7, 2018. The objections asserted four grounds for not producing documents in

  response to the subpoena: (1) that the subpoena served on James Gibson was improperly

  labeled as directed to James Gibson LLC, (2) that the subpoenas sought confidential and

  privileged information that is not relevant to the matter, (3) that the requests for all

  documents or all communications concerning various topics are unduly burdensome, and

  implicate the attorney-client privilege and attorney work product doctrine, and (4) the

  definition of Castalian Partners Value Fund and You were vague, ambiguous, overly

  broad, and unduly burdensome because they requested documents not in Respondents’

  possession, custody, or control. Ex. 9. Respondents also attached an appendix of

  fourteen boilerplate General Objections that do not appear to relate to the Subpoenas. Id.

         In a letter dated August 15, 2018, counsel for Mr. Sugarman replied by explaining

  that Respondents’ trading patterns—which suggest Respondents had advance knowledge

  of the Blog—are directly relevant to elements of the plaintiffs’ cause of action in the

  Underlying Action. Ex. 10. Counsel for Mr. Sugarman requested a conference to discuss

  Respondents’ objections. Id. During the August 28, 2018 telephonic meet and confer,

  counsel for Mr. Sugarman described in detail the relevance of Respondents’ trading

  patterns to the issues of materiality, class certification, and loss causation. See
                                                14
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  Declaration of Andrew R. Gray (“Gray Dec.”) ¶ 3. Despite what appeared to be a

  productive discussion, on August 31, 2018 Respondents’ counsel sent an email claiming

  that the FINRA trading records obtained were “incorrect or fraudulent” and questioning

  the “integrity of [counsel to Mr. Sugarman’s] information and conclusions.” Ex. 11. In

  response, Mr. Sugarman’s counsel provided the FINRA production, which evidenced the

  trades at issue and included the FINRA declaration of custodian records. See id.; Ex. 6.

         Respondents then engaged different counsel to respond to the Subpoenas. Counsel

  to Mr. Sugarman again set up a conference, where Respondents again challenged the

  relevance of the requested documents. Gray Dec. ¶ 4. Mr. Sugarman again described in

  detail the relevance of Respondents’ trading patterns to the issues of materiality, class

  certification, and loss causation. Id. Respondents did not raise any objections beyond

  relevance and promised to notify Mr. Sugarman if there was any change in their position

  with respect to production. Id.

         B.     Immediately After the Meet-and-Confer, Aurelius Altered Its Website
                to Restrict Access to the Blog and Other Reports on Banc.

         In the week after the initial meet and confer conference with Respondents’

  counsel—during which Mr. Sugarman’s theory of loss causation was set forth in detail—

  Aurelius altered its website to require visitors to affirmatively agree to terms of service in

  order to access Aurelius’s report on Banc. In part, the new terms of service state:

         You should assume that as of the publication date of his reports and
         research, Aurelius and possibly any companies affiliated with him and
         their members, partners, employees, consultants, clients and/or
         investors (the “Aurelius Affiliates”) have a short position in all stocks
         (and/or options, swaps, and other derivatives related to the stock) and
         bonds of companies covered in such reports and research. They
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           therefore stand to realize significant gains in the event that the prices of
           either equity or debt securities of the subject companies
           decline. Aurelius and the Aurelius Affiliates intend to continue transactions
           in the securities of issuers covered on this site for an indefinite period after
           his first report on a subject company, and they may be long, short, or neutral
           at any time hereafter regardless of initial position and the views stated in
           Aurelius’ research. Aurelius will not update any report or information on
           this website to reflect such positions or changes in such positions.

  Ex. 13.6 This language bears a striking similarity to the terms of service used by Muddy

  Waters. Muddy Waters’ website also requires visitors to affirmatively opt-in in order to

  access Muddy Waters’ research reports, including the following language:

           You should assume that, as of the publication date of a Muddy Waters report,
           Muddy Waters Related Persons (possibly along with or through its members,
           partners, affiliates, employees, and/or consultants), Muddy Waters Related
           Persons clients and/or investors and/or their clients and/or investors have a
           position (long or short) in one or more of the securities of a Covered Issuer
           (and/or options, swaps, and other derivatives related to one or more of these
           securities), and therefore stand to realize significant gains in the event that
           the prices of either equity or debt securities of a Covered Issuer decline or
           appreciate. Muddy Waters Research, Muddy Waters Capital and/or the
           Muddy Waters Related Persons intend to continue transacting in the
           securities of Covered Issuers for an indefinite period after an initial report on
           a Covered Person, and such person may be long, short, or neutral at any time
           hereafter regardless of their initial position and views as stated in the research
           report published by Muddy Waters Research or Muddy Waters Capital.
           Neither Muddy Waters Research nor Muddy Waters Capital will update any
           report or information on its website to reflect changes in positions that may
           be held by a Muddy Waters Related Person.

  Ex. 14.7 The timing and remarkably similar language suggest that Respondents,

  Aurelius, and Muddy Waters may be or are in communication with each other.




  6
    See http://www.aureliusvalue.com/research/banc-extensive-ties-notorious-fraudster-
  jason-galanis-make-shares-un-investible/.
  7
      See http://d.muddywatersresearch.com/tou/.
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  V.     ARGUMENT

         A.     Mr. Sugarman Is Entitled to Discovery Because the Requests Are
                Relevant for Defenses to Plaintiffs’ 10b-5 Claim.

                1.     Mr. Sugarman Is Entitled to Take Discovery that Is Relevant and
                       Proportional.

         The scope of relevance for a third-party subpoena issued under Federal Rule of

  Civil Procedure (“Rule”) 45 is the same as the scope of relevance under Rule 26. See Fed

  R. Civ. P. 45, Advisory Committee Note to 1991 Amend. (“[A] non-party witness is

  subject to the same scope of discovery under this rule as that person would be as a party

  to whom a request is addressed pursuant to Rule 34.”); Jackson v. Brinker, 147 F.R.D.

  189, 193–94 (S.D. Ind. 1993) (“The scope of material obtainable by a Rule 45 subpoena

  is as broad as permitted under the discovery rules.”). Under Rule 26(b)(1), parties may

                [O]btain discovery regarding any nonprivileged matter that is
                relevant to any party’s claim or defense and proportional to
                the needs of the case, considering the importance of the issues
                at stake in the action, the amount in controversy, the parties’
                relative access to relevant information, the parties’ resources,
                the importance of the discovery in resolving the issues, and
                whether the burden or expense of the proposed discovery
                outweighs its likely benefit.

  Fed. R. Civ. P. 26(b)(1).

         Courts construe Rule 26 broadly to encompass “any matter that bears on, or that

  reasonably could lead to other matter[s] that could bear on, any issue that is or may be in

  the case.” Orduno v. Pietrzak, 2016 WL 5853723, at *3 (D. Minn. Oct. 5, 2016); Azarax,

  Inc. v. Wireless Commc'ns Venture, LLC, 2017 WL 7369891, at *5 (D. Minn. Dec. 21,

  2017) (describing scope of relevance). “The standard of relevance in the context of

  discovery is broader than in the context of admissibility.” Hodges v. Pfizer, Inc., 2016
                                              17
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  WL 1222229, at *2 (D. Minn. Mar. 28, 2016). “The party resisting production bears the

  burden of establishing lack of relevancy or undue burden.” Arctic Cat, Inc. v. Bombardier

  Recreational Prod., Inc., 2014 WL 12610146, at *2 (D. Minn. May 23, 2014).

                2.     The Requested Discovery Is Relevant to the Issues of Materiality,
                       Loss Causation, and the Presumption of Reliance for Class
                       Adjudication.

         Here, Mr. Sugarman has developed evidence of Respondents’ significant financial

  interest in the decline of Banc stock, Respondents’ unusual trading activity in the days

  immediately prior to the publication of the Blog, and the strikingly similar trading

  activity conducted by a group of other shareholders. See Voetmann Dec. at 4-5; Ex. 6.

  This evidence strongly suggests coordination amongst the Short-and-Distort Traders and

  the author of the Blog.8 It is also indicative of a trading strategy that both knew of the

  existence of the Blog and believed that its contents would have only a temporary effect

  on Banc’s stock price.9 Mr. Sugarman is entitled to develop evidence regarding the

  information known by these market participants, the sources of the information, the

  timing of their acquisition of knowledge, the scope of the dissemination, and the bases for



  8
    See, e.g., “Short Sale Position and Transaction Reporting”, prepared by the Staff of the
  Division of Economic and Risk Analysis of the SEC, June 5, 2014, pp 6-7, accessed on
  July 31, 2018; Alexander Ljungqvist & Wenlan Qian, How constraining are limits to
  arbitrage?, 29 The Review of Financial Studies 1975, 1976 (2016) (“By presenting new
  facts that are impossible to ignore or dismiss out of hand, the arbs hope to induce a
  stampede (similar to a bank run), in which no long investor wants to be the last to sell.”).
  9
    See Mitts, J., 2018, “Short and distort,” Working Paper, p. 7 (“That kind of well-timed
  options trading suggests that someone knew the article was about to be published, and
  that the price would revert to its prior level thereafter because the article did not contain
  sufficient information to bring about a downward revision in the price of the magnitude
  observed on the day of publication.”).
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  the trades.

         Further evidence regarding what Respondents knew when they entered into the

  well-timed trades, how they obtained the information, what other parties were aware of

  the information, and why Respondents made the trades at issue is highly likely to support

  Mr. Sugarman’s materiality, class certification, and loss causation arguments. See City of

  Farmington Hills Employee Ret. Sys. v. Wells Fargo Bank, N.A., 2012 WL 12898810, at

  *5 (D. Minn. Mar. 23, 2012) (where discovery could be relevant to defendant’s argument

  that it was not the cause of plaintiff’s damages, the Court found discovery was “relevant

  to either party’s claims or defenses and that it certainly may lead to the discovery of

  admissible evidence”). Indeed, if Mr. Sugarman can demonstrate that the information in

  the Blog was previously disclosed or publicly available, there could be no “revelation to

  the market” or corrective disclosure that caused the plaintiffs’ loss. See In re REMEC

  Inc. Sec. Litig., 702 F. Supp. 2d 1202, 1266 (S.D. Cal. 2010) (granting summary

  judgment to defendants when loss causation could not be established). Similarly, if

  documents from Respondents show that the information in the Blog “was already in the

  public domain, the alleged omissions could not have altered ‘the total mix of information

  available’ to the public and were also immaterial as a matter of law.” In re Bank of Am.

  AIG Disclosure Sec. Litig., 980 F. Supp. 2d 565, 577 (S.D.N.Y. 2013).

         During meet-and-confer discussions, Respondents argued that the documents

  would not be relevant to Mr. Sugarman’s scienter or the falsity of the statements at issue.

  Gray Dec. ¶ 4. They have failed, however, to develop a cogent argument as to why the

  requested documents are not relevant to materiality and loss causation, which are separate
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  elements of the underlying cause of action. Dura Pharm., Inc. v. Broudo, 544 U.S. 336,

  342 (2005) (establishing materiality and loss causation as elements of a claim under

  section 10(b) of the Securities and Exchange Act of 1934); Loos v. Immersion Corp., 762

  F.3d 880, 887 (9th Cir. 2014) (to demonstrate loss causation adequately, a plaintiff must

  establish “that the defendant’s fraud was ‘revealed to the market and caused the resulting

  losses’”).10 Respondents also argued that Mr. Sugarman should be able to demonstrate

  the lack of materiality and loss causation based on the statements in the Blog such that

  information from Respondents were not necessary. Gray Dec. ¶ 4. But Respondents

  belief that the discovery is not necessary (a point that is contradicted by the court’s

  holdings in the Underlying Action and disputed by Mr. Sugarman) does not make the

  requested discovery irrelevant. Respondents also have failed to rebut the relevancy to

  arguments regarding the efficiency of the market of incorporating known information,

  which underlies the presumption of reliance for class adjudication of the underlying

  claims.

         B.      Respondents’ Remaining Objections Are Meritless.

         Respondents noted a few additional objections in their initial response to Mr.

  Sugarman’s subpoena. Respondents have not raised these further objections in

  subsequent discussions. To the extent they intend to rely on them, the objections are

  meritless.

         First, Respondents object to the subpoena to James Gibson because it states that it


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    Because the Underlying Action is pending in the Central District of California, the
  plaintiffs’ claim will be evaluated under Ninth Circuit law.
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  was directed to James Gibson, LLC instead of James Gibson. Respondents do not contest

  that the subpoena was properly served on James Gibson and properly defined the subject

  of the subpoena as James Gibson. Exs. 8, 12. Where, as here, a subpoena is properly

  served, courts consistently reject attempts to avoid production obligations due to similar

  misspellings and typographical errors. See DeVizzio v. Commissioner of Soc. Sec., 2015

  WL 2238155, at *4 (N.D.N.Y. May 12, 2015) (misspelling of responding party’s name in

  subpoena was “inconsequential”). Counsel for Gibson has participated in the meet and

  confer process, and the typographical error on the subpoena does not excuse the

  obligation to produce documents.

         Second, Respondents suggest that the subpoenas are “invasive” or drafted so

  broadly that they are unduly burdensome. It is Respondents’ burden to demonstrate that

  a request for relevant documents is unduly burdensome, Regents of the Univ. of

  Minnesota v. AT&T Mobility LLC, 2016 WL 7972908, at *3 (D. Minn. Dec. 13, 2016),

  and Respondents have provided no information about the volume and scope of potential

  review and production. Ispat Inland, Inc. v. Kemper Envtl., Ltd., 2007 WL 737786, at *2

  (D. Minn. Mar. 8, 2007) (where a party “made no showing that it will be unduly

  burdened” but rather “makes only sweeping, broad statements that producing any of the

  documents would be burdensome” the seeking party’s “specific need for the documents

  outweighs the burden broadly asserted”); see also Baer v. G & T Trucking Co., 2004 WL

  6340449, at *5 (D. Minn. Aug. 26, 2004) (“Broad allegations of burdensomeness,

  without more, will not suffice.”). Additionally, Respondents have significant resources

  to respond to this request—even if only considering the profits made on the transactions
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  at issue—and have declined Mr. Sugarman’s invitation to negotiate a narrower scope of

  review based on Respondents understanding of where responsive information may exist.

  Gray Dec. ¶ 5; see McKey v. U.S. Bank Nat’l Ass’n, 2018 WL 3344239, at *2 (D. Minn.

  July 9, 2018) (granting a motion to compel where a party failed to demonstrate “the cost

  of producing the records would be unduly burdensome relative to the value of the

  information to the case”).

         Third, Respondents object to the requests to the extent they seek documents

  protected by the attorney-client privilege and the attorney work-product doctrine. Again,

  the burden is on Respondents to establish the protection of these privileges, and then to

  produce an appropriate privilege log. Ispat Inland, 2007 WL 737786, at *3 (denying

  motion to quash subpoena on claim that documents sought were privileged because, “at

  this point, [the non-party] has only generally claimed privilege by making broad

  statements [and] has failed to produce a privilege log or make a specific showing as to

  why these documents are in fact privileged.”); Baranski v. United States, 2015 WL

  3505517, at *12 n.13 (E.D. Mo. June 3, 2015) (“Rule 45 places the burden to

  establish privilege on the subpoenaed party asserting it.”). The suggestion that requests

  may include privileged materials does not excuse production of non-privileged

  documents or the burden to establish any asserted privilege.

         Finally, Respondents object to the definitions of “Castalian Partners Value Fund

  LP” and the definition of “You” in the Subpoenas because “Respondents have no

  obligation to produce and will not produce documents or information in the possession,

  custody, or control of third parties.” Ex. 9. Obviously, the Subpoenas to Castalian
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  Partners and James Gibson require production of only documents in the possession,

  custody, or control of these Respondents. This objection does not excuse the production

  of those documents.

  VI.   CONCLUSION

        For the reasons set forth above, Mr. Sugarman respectfully requests that the Court

  grant his motion to compel.

   Dated: September 28, 2018                FOX ROTHSCHILD

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